Case 2:03-cr-20440-.]DB Document 63 Filed 07/14/05 Page 1 of 3 Page|D 63

 

 

IN THE UNITED STATES DISTRICT COURT F“£D ¢3~{ “__ M_ D_G.-
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 J[_;L ||_, PH lp 00
ll'l{`lM/¥‘\hl GQi.il.D
CLEP§’\ U.S 9SiHlCT COLHT
UNrrED STATES oF AMERICA ) 559 a . l m`%~l$
)
Plaintiff, )
)
VS ) CR. NO. 03~20440-B
)
WILL REDMOND, )
)
Defendant. )
ORDER TO SURRENDER

 

The defendant, Will Redmond, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
(P.O. Box 7000), 1400 Dale Bumpers Road, Forrest City, AR 72335 by 2:00 p.m. on FRIDAY,
AUGUST 5, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Office Building, 167 N. Main Street, Roorn 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt cfa copy of this Order and that the

defendant Will report as ordered to the facility named above.

ENTERED this the_i_ Wday of July, 2005. @M\

UNIEL BREEN
Ul\II)I ED STATES DISTRICT JUDGE

This document entered on the docket sheet in co`?)iiance
with Huie 58 and/or 79(a) FRCP on '

@

Case 2:03-cr-20440-.]DB Document 63 Filed 07/14/05 Page 2 of 3 Page|D 64

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:03-CR-20440 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Carnille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lernphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lernphis7 TN 38103

Gerald S. Green

LAW OFFICE OF GERALD S. GREEN
147 Jefferson

Ste. 800

l\/lernphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

